Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 1 of 113




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 EXHIBIT B
                      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 6 of 113
      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                   Civil Cover Sheet                                        E-Filing Number:   2206037538
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 GWENDOLYN PURNELL                                                            GOODLEAP, LLC

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 1827 MORRIS STREET                                                           8781 SIERRA COLLEGE BLVD.
 PHILADELPHIA PA 19145                                                        ROSEVILLE CA 95661


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
                                                                              SUNRUN, INC.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
                                                                              225 BUSH STREET SUITE1400
                                                                              SAN FRANCISCO CA 94104


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
                                                                              VIVINT SOLAR, INC.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
                                                                              225 BUSH STREET SUITE 1400
                                                                              SAN FRANCISCO CA 94104


TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               1                                     5
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                 Arbitration                     Mass Tort                           Commerce                        Settlement
    $50,000.00 or less         X Jury                            Savings Action                      Minor Court Appeal              Minors
 X More than $50,000.00          Non-Jury                        Petition                            Statutory Appeals               W/D/Survival
                                 Other:
CASE TYPE AND CODE

  4F - FRAUD

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                    JUN 17 2022
                                                                          S. RICE

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: GWENDOLYN PURNELL
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 ANDREW M. MILZ                                                              FLITTER MILZ, P.C.
                                                                             450 N. NARBERTH AVENUE
PHONE NUMBER                            FAX NUMBER                           SUITE 101
 (610)668-0018                          (610)667-0552                        NARBERTH PA 19072

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 207715                                                                      amilz@consumerslaw.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 ANDREW MILZ                                                                 Friday, June 17, 2022, 03:46 pm

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
          Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 7 of 113


COMPLETE LIST OF DEFENDANTS:
    1. GOODLEAP, LLC
         8781 SIERRA COLLEGE BLVD.
         ROSEVILLE CA 95661
    2. SUNRUN, INC.
         225 BUSH STREET SUITE1400
         SAN FRANCISCO CA 94104
    3. VIVINT SOLAR, INC.
         225 BUSH STREET SUITE 1400
         SAN FRANCISCO CA 94104
    4. VIVINT SOLAR DEVELOPER, INC.
         225 BUSH STREET SUITE 1400
         SAN FRANCISCO CA 94104
    5. LEROI TAYLOR
         401 SHARON AVENUE APT. 302
         SHARON HILL PA 19079
       Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 8 of 113




COMMUNITY LEGAL SERVICES, INC.                             Filed and Attested by the
By: PETER D. SCHNEIDER, ESQUIRE                           Office of Judicial Records
Attorney I.D. No. 40351                                       17 JUN 2022 03:46 pm
By: ROBERT W. BALLENGER, ESQUIRE                                     S. RICE
Attorney ID No. 93434
1424 Chestnut Street
Philadelphia, PA 19102
Tele: 215-981-3718
Email: pschneider@clsphila.org

FLITTER MILZ, P.C.
BY: CARY L. FLITTER
Attorney ID No. 35047
BY: ANDREW M. MILZ
Attorney ID No. 207715
BY: JODY T. LÓPEZ-JACOBS
Attorney ID No. 320522
450 N. Narberth Ave, Suite 101
Narberth, PA 19072
(610) 822-0782
                                           THIS IS NOT AN ARBITRATION MATTER
                               AN ASSESSMENT OF DAMAGES HEARING IS REQUIRED

 Gwendolyn Purnell                                COURT OF COMMON PLEAS
 1827 Morris Street                               PHILADELPHIA COUNTY
 Philadelphia, PA 19145,                          CIVIL DIVISION

        Plaintiff,

                v.                                            Term, 2022

 Goodleap, LLC                                    No.
 8781 Sierra College Blvd.
 Roseville, CA 95661,

 Sunrun, Inc.
 225 Bush Street, Suite 1400
 San Francisco, CA 94104,

 Vivint Solar, Inc.,
 225 Bush Street, Suite 1400
 San Francisco, CA 94104,

 Vivint Solar Developer, LLC,
 225 Bush Street, Suite 1400
 San Francisco, CA 94104,



                                                                           Case ID: 220601757
        Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 9 of 113




Leroi Taylor
401 Sharon Ave Apt 302
Sharon Hill, PA 19079

and

John Doe(s),

         Defendants

                                    COMPLAINT – CIVIL ACTION


                NOTICE TO DEFEND                                                    AVISO

    You have been sued in Court. If you wish to defend           Lo(a) han demandado a usted en la corte. Si usted
 against the claims set forth in the following pages, you    quiere defenderse de estas demandas expuestas en las
   must take action within twenty (20) days after this      páginas siguientes, usted tiene veinte (20) días de plazo
Complaint and Notice arc served, by entering a written        al partir de la fecha de la demanda y la notificación.
    appearance personally or by attorney and filing in         Hace falta asentar una comparecencia escrita o en
writing with the Court your defenses or objections to the   persona o con un abogado y entregar a la corte en forma
claims set forth against you. You are warned that if you    escrita sus defensas o sus objeciones a las demandas en
  fail to do so the case may proceed without you and a        contra de su persona. Sea avisado que si usted no se
   judgment may be entered against you by the Court          defiende, la corte tomará medidas y puede continuar la
   without further notice for any money claimed in the      demanda en contra suya sin previo aviso o notificación.
Complaint or for any other claim or relief requested by     Además, la corte puede decidir a favor del demandante
 the plaintiff. You may lose money or property or other      y requiere que usted cumpla con todas las provisiones
                  rights important to you.                     de esta demanda. Usted puede perder dinero o sus
                                                              propiedades u otros derechos importantes para usted.
   YOU SHOULD TAKE THIS PAPER TO YOUR
  LAWYER AT ONCE. IF YOU DO NOT HAVE A          LLEVE ESTA DEMANDA A UN ABOGADO
LAWYER OR CANNOT AFFORD ONE, GO TO OR INMEDIATAMENTE. SI NO TIENE ABOGADO O
TELEPHONE THE OFFICE SET FORTH BELOW TO SI NO TIENE EL DINERO SUFICIENTEMENTE DE
 FIND OUT WHERE YOU CAN GET LEGAL HELP.       PAGAR TAL SERVICIO, VAYA EN PERSONA O
                                              LLAME POR TELÉFONO A LA OFICINA CUYA
            Philadelphia Bar Association      DIRECCIÓN SE ENCUENTRA ESCRITA ABAJO
      Lawyer Referral and Information Service    PARA AVERIGUAR DONDE SE PUEDE
           1101 Market Street, 11th Floor          CONSEGUIR ASISTENCIA LEGAL.
       Philadelphia, Pennsylvania 191072911
             Telephone: (215) 238-6333             Asociación de Licenciados de Filadelfia
                                                 Servicio de Referencia E Información Legal
                                                       1101 Market Street, 11th Floor
                                                   Philadelphia, Pennsylvania 191072911
                                                          Teléfono: (215) 238-6333




                                                                                                            Case ID: 220601757
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 10 of 113




COMMUNITY LEGAL SERVICES, INC.
By: PETER D. SCHNEIDER, ESQUIRE               Attorneys for Plaintiff Gwendolyn Purnell
Attorney I.D. No. 40351
By: ROBERT W. BALLENGER, ESQUIRE
Attorney I.D. No. 93434
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Philadelphia, PA 19102
Tele: 215-981-3718
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                                           THIS IS NOT AN ARBITRATION MATTER
                               AN ASSESSMENT OF DAMAGES HEARING IS REQUIRED

 Gwendolyn Purnell                                 COURT OF COMMON PLEAS
 1827 Morris Street                                PHILADELPHIA COUNTY
 Philadelphia, PA 19145,                           CIVIL DIVISION

        Plaintiff

                v.                                                   Term, 2022

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 Roseville, CA 95661,

 Sunrun Inc.
 225 Bush Street, Suite 1400
 San Francisco, CA 94104,

 Vivint Solar, Inc.,
 225 Bush Street, Suite 1400
 San Francisco, CA 94104,

 Vivint Solar Developer, LLC,
 225 Bush Street, Suite 1400



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 San Francisco, CA 94104,

 Leroi Taylor
 401 Sharon Ave Apt 302
 Sharon Hill, PA 19079

 and

 John Doe(s),

        Defendants

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS TO WHICH SHE IS SO
ENTITLED.


                                COMPLAINT – CIVIL ACTION


                                PRELIMINARY AVERMENTS

       1.       This is an action for declaratory relief and damages for Defendants’ violation of

Pennsylvania’s consumer protection laws and for related torts. The action arises out of an

unconscionable and oppressive loan agreement to finance the installation of solar panels on a

modest Philadelphia rowhouse owned by Plaintiff Gwendolyn Purnell—a low-income 81-year-

old widow residing in South Philadelphia. Defendant Goodleap, then known as Loanpal,

working in tandem with door-to-door sales companies Sunrun Inc., Vivint Solar, Inc. and Vivint

Solar Developer, LLC (“Vivint”), caused Mrs. Purnell to enter into a solar system contract and

loan agreement (collectively, the “contracts”) without her knowledge or consent, and without

informing her properly of her right to cancel the contract within a three-day period.

       2.       When Mrs. Purnell ultimately learned of her right to cancel the contracts and did

cancel them, Defendants refused to accept the cancellation and continued to bill Mrs. Purnell for

loan installment payments. Then, when Mrs. Purnell, acting within her rights, stopped making

payments, Defendant Goodleap threatened to make damaging credit reports and disconnect the


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solar panels. Next, it did disconnect the panels. Mrs. Purnell seeks: (a) a declaration that the solar

system contract and loan agreements have been cancelled and that she has no further obligations

under them; (b) the release of the unilaterally placed UCC Financing Statement, which has

clouded her title to the home; (c) actual, treble, and statutory damages for Defendants’ unlawful

collection actions undertaken in violation of Pennsylvania consumer protection laws, (d)

damages for the torts committed when the solar panels were disconnected, and (e) damages for

Defendants’ fraudulent and deceptive actions.

                                             PARTIES

       3.      Plaintiff Gwendolyn Purnell is a low-income 81-year old widow residing at 1827

Morris Street, Philadelphia, PA 19145 (“the property” or “the home”).

       4.      Defendant Goodleap, LLC (“Goodleap”) is a limited liability corporation licensed

to do business as a mortgage lender in Pennsylvania, with a principal place of business at 8781

Sierra College Blvd., Roseville, CA 95661. Goodleap has also operated under the names

Loanpal, LLC (“Loanpal”) and Paramount Equity Mortgage, LLC (“Paramount”) and was

known by one or both of those names at the time of some of the events described in this

complaint. Any reference in this complaint to “Goodleap,” “Loanpal,” or “Paramount” is meant

to refer to Defendant Goodleap or one of its predecessor entities.

       5.      Defendant Sunrun Inc. (“Sunrun”) is a corporation engaged, among other things,

in the sale and installation of home solar energy systems, with a principal place of business at

225 Bush Street, Suite 1400, San Francisco, CA 94104.

       6.      On information and belief, Sunrun is the successor in interest to Vivint Solar, Inc.

and Vivint Solar Develop, LLC, which as described below installed a home solar energy system

at Mrs. Purnell’s home.


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         7.    Defendant Vivint Solar, Inc. is a corporation incorporated in Delaware and that

has a principal place of business in San Francisco, CA.

         8.    Defendant Vivint Solar Developer, LLC is a limited liability corporation

incorporated in Delaware and that has a principal place of business in San Francisco, CA.

         9.    On information and belief, Vivint and Goodleap routinely acted together, and did

so here, to sell and finance the sale of solar electric systems.

         10.   Defendant Leroi Taylor (“Taylor”) is an adult individual who resides in

Pennsylvania, with the last known address of 401 Sharon Avenue, Apt 302, Sharon Hill, PA

19079.

         11.   Defendant Taylor was the sales agent who at all times relevant acted on behalf of

and at the behest of Vivint and Goodleap.

         12.   Defendant(s) John Doe is one or more natural persons who at all times relevant

acted on behalf of Goodleap. The identity/identities of Doe will be ascertained through

discovery.

         13.   Venue lies in this Court, because this action stems from occurrences that took

place in Philadelphia County and concerns a UCC Financing Statement recorded in Philadelphia

County.

                                    FACTUAL AVERMENTS

         14.   Mrs. Purnell has resided in the property since purchasing it in 1970. The property

was originally held in the name of Gwendolyn Rispers (Mrs. Purnell’s former name) as trustee

for her daughter Wanda Rispers, but it has been held by Mrs. Purnell individually since 2005.




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       15.     Mrs. Purnell’s husband David Purnell (“Mr. Purnell”) lived in the property with

Mrs. Purnell from their marriage in 1987 until his death in 2020.

       16.     In 2018, Leroi Taylor, a door-to-door salesman working as an agent for Vivint

and Loanpal, solicited Mr. and Mrs. Purnell at their home regarding the installation of solar

panels. At the time, Mr. and Mrs. Purnell had no prior interest in solar, and they told the

salesman that they were not interested.

       17.     But Taylor continued his pitch, explaining that it would cost nothing and that

solar was the future, which intrigued Mr. Purnell in particular.

       18.     Although Mrs. Purnell was present for a substantial part of the initial sales

presentation, it was Mr. Purnell who had the greater interest and it was to him that Taylor’s pitch

for solar was largely made.

       19.     Taylor told Mr. and Mrs. Purnell that if they allowed Vivint to install solar panels

on their roof, there would be no cost to them and they would realize substantial savings on their

electric utility costs. Taylor represented that anything Mr. and Mrs. Purnell might have to pay

would be covered by the sale to the electric company of the electricity the system generated.

       20.     Those representations were false.

       21.     Based on those representations, Mr. and Mrs. Purnell agreed to consider having

the solar system installed.

       22.     Taylor took information for both Mr. and Mrs. Purnell and told them he would

submit the information to see if they qualified to have the system installed.

       23.     Several weeks later, Taylor returned to the home and told the Purnells that Mr.

Purnell did not qualify for the installation of the system but that Mrs. Purnell did so qualify.



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       24.     Taylor represented again that the installation of the solar system would not cost

Mr. and Mrs. Purnell anything.

       25.     In reasonable reliance on Taylor’s representations that the installation would not

cost her anything, Mrs. Purnell orally agreed to have Vivint install the system.

       26.     On or about November 28, 2018, Taylor returned again and presented Mrs.

Purnell with a computer tablet. There were no paper documents presented, signed, or exchanged,

and the computer tablet did not depict any contractual terms.

       27.     Mrs. Purnell signed Taylor’s tablet, agreeing only to the installation of solar

panels and nothing more.

       28.     Vivint eventually installed photovoltaic panels and related equipment

(collectively, “the solar panels” or “the panels”) on her house and connected them to her electric

service.

       29.     On or about November 6, 2020, well over a year after the panels were installed,

Defendants provided copies of documents entitled “Residential Solar Energy System Purchase

Agreement,” and “Loan Agreement” to Mrs. Purnell.

       30.     The “Residential Solar Energy System Purchase Agreement” purported to be an

agreement by Mrs. Purnell to purchase solar panels and related equipment from Vivint and for

Vivint to install the system, for a price of $18,900.00. A copy, redacted to delete confidential

information, is attached hereto as Exhibit “A”.

       31.     The “Loan Agreement” purported to be a loan from Loanpal to Mrs. Purnell in the

total amount of $18,900.00, with a 20-year loan term and an interest rate of 3.99%. The Loan

Agreement provided for an initial monthly payment amount of $82.59, but that payment amount




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was not fully amortizing. The payment was to reset as of July 27, 2020, to a new, fully

amortizing amount estimated at $118.75 for the remaining 18 years of the loan term. The Loan

Agreement references, but does not include, a Notice of Cancellation Form. A copy of the Loan

Agreement is attached hereto as Exhibit “B”.

        32.     Defendants did not present any of these documents to Mrs. Purnell, nor did they

provide these documents to Mrs. Purnell in a paper format at any time before, at, or after the loan

closing. Mrs. Purnell did not affix her name on any documents.

        33.     Mrs. Purnell believes and avers that the documents were not emailed to her at the

time of the initial solicitation.

        34.     Mrs. Purnell did not ordinarily use email as a means of communication and she

rarely if ever monitored her email address for incoming mail.

        35.     At the time of the solicitation, Mrs. Purnell understood that solar panels would be

installed but did not understand that she would be taking out a loan to cover the cost of the

installation.

        36.     If Mrs. Purnell had known or understood that a loan was involved, she never

would have agreed to have the system installed.

        37.     On information and belief, Defendants’ salesman, Taylor, engaged in fraud in the

execution, as he misrepresented the very nature of what Mrs. Purnell was agreeing to do in

signing the computer tablet.

        38.     On information and belief, Defendants, as a matter of policy, do not provide

signed contract documents in paper format at the time of signing.




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        39.     On information and belief, Defendants have a pattern and practice of

misrepresenting to consumers the very nature of the transaction, resulting in consumers

unwittingly signing decades-long solar contracts, including loans, without their knowledge or

consent.

        40.     On or about March 6, 2019, Loanpal caused a UCC Financing Statement to be

recorded with the City of Philadelphia Department of Records. The secured party’s name, as set

forth on the Financing Statement, was “Paramount Equity Mortgage, LLC DBA Loanpal.” A

copy of the Financing Statement, redacted to delete confidential information, is attached hereto

as Exhibit “C”.

        41.     The Financing Statement purported to take a security interest in favor of Loanpal

in the following collateral:

        All of the debtor’s right, title and interest in the Photovoltaic Solar Energy
        Equipment or Energy Storage/Battery Equipment (if any), including but not
        limited to rooftop solar panels, solar roofing materials, wall mounted batteries,
        inverters, cables and wires, support brackets, roof mounted or ground mounted
        racking systems, related equipment, and additions or replacements of the same. In
        addition, the security interest includes all warranties issued with respect to the
        referenced collateral.


        42.     Although the installation of the solar panels reduced Mrs. Purnell’s electric utility

bills, the net cost of her household electric service increased drastically after the installation of

the panels due to the cost of the monthly loan payments due to Loanpal.

        43.     As an example of the increased cost:

                    a. The average electric bill for the year from April 2018 through March

                        2019, before the installation of the solar panels, was $56.14.




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                   b. The average bill from April 2019 through March 2020, after the

                       installation of the panels, was $13.23.

                   c. That figure represented an average monthly reduction of $42.91 on the

                       electric bill.

                   d. The reduction was more than offset, however, by the monthly loan

                       payment to Loanpal, initially $82.59 and later, when the loan payment

                       reset, $118.24.

                   e. Thus the average combined monthly cost associated with electricity

                       service increased as a result of the transactions, initially by $39.68 and

                       later by $75.33.

       44.     Pursuant to the Pennsylvania Unfair Trade Practices and Consumer Protection

Law (“UTPCPL”), 73 P.S. § 201-7, both Vivint and Loanpal were required to provide Mrs.

Purnell with the notice of her right to cancel their respective transactions within three full

business days following the day of the transactions.

       45.     The UTPCPL, at 73 P.S. § 201-7, sets out the contents and formatting

requirements of such a notice.

       46.     Neither Vivint nor Loanpal provided Mrs. Purnell with a notice that complied

with the above-referenced requirements.

       47.     Before November 2020, Mrs. Purnell was never provided with printed copies of a

notice of her right to cancel.

       48.     Although Vivint and Loanpal may assert, as they have in the past, that they

provided such notices to Mrs. Purnell by email at the time of the purported transaction, Mrs.



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Purnell believes and avers that no such notices were actually provided, by email or otherwise, at

the time of the solicitation.

        49.     Copies of the notices provided, redacted to delete confidential information, are

attached hereto as Exhibits “D” (Vivint) and “E” (Loanpal).

        50.     In any event, the notice Vivint claims to have provided Mrs. Purnell by email

failed to comply with the requirements of 73 P.S. § 201-7(2) for the following reasons:

                    a. Mrs. Purnell was not provided with a printed copy or copies of the notice.

                    b. The notice was not easily detachable from the contract.

                    c. The notice was not placed in immediate proximity to the space reserved in

                        the contract for Mrs. Purnell’s signature.

                    d. The notice was not in a type size of ten points or greater, as viewable on

                        any device available to Mrs. Purnell.

                    e. The notice was not in bold face type.

        51.     The notice Loanpal claims to have provided Mrs. Purnell by email failed to

comply with the requirements of 73 P.S. § 201-7(2) for the following reasons:

                    a. Mrs. Purnell was not provided with a printed copy or copies of the notice.

                    b. The notice was not easily detachable from the contract.

                    c. The notice was not provided in duplicate.

                    d. The notice was not placed in immediate proximity to the space reserved in

                        the contract for Mrs. Purnell’s signature.




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                   e. The notice was not in a type size of ten points or greater, whether as

                       viewable on any device available to Mrs. Purnell or as printed out.

       52.     The Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 P.S. §

201-7(e), provides that “[t]he cancellation period provided for in this section shall not begin to

run until buyer has been informed of his right to cancel and has been provided with copies of the

‘Notice of Cancellation.’”

       53.     Because the requisite notices had not been provided as of November 5, 2020, the

three-day rescission period had not begun to run, and Mrs. Purnell retained the right to rescind

the transactions with Vivint and Loanpal.

       54.     On November 9, 2020, Mrs. Purnell’s counsel sent Vivint and Loanpal a notice

that Mrs. Purnell had cancelled the transactions. A copy of the notice, redacted to delete

confidential information, is attached hereto as Exhibit “F”.

       55.     The notice was sent within three business days of November 6, 2020.

       56.     In the notice, counsel advised Vivint and Loanpal as follows:

               Mrs. Purnell hereby makes available to you at her residence in substantially as
               good condition as when received, any goods delivered to her under these
               transactions. Please notify me or Mrs. Purnell whether you intend to repossess or
               to abandon any shipped or delivered goods. If you elect to repossess but do not do
               so twenty days of the date of this notice of cancellation, Mrs. Purnell will retain or
               dispose of the goods without any further obligation.

       57.     Neither Vivint nor Loanpal responded to the notice.

       58.     Neither Vivint nor Loanpal ever notified Mrs. Purnell or counsel that they

intended to repossess or abandon any shipped or delivered goods.

       59.     Pursuant to the Pennsylvania Unfair Trade Practices and Consumer Protection

Law, 73 P.S. § 201-7(i), by failing to respond to the notice within ten days and by failing to


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repossess the goods within 20 days, Vivint and Loanpal forfeited all rights to the goods,

including the solar panels and associated equipment and the payment of sums pursuant to the

Loanpal loan.

        60.     As described above, Mrs. Purnell validly cancelled the purported contracts with

Vivint and Loanpal.

        61.     Nonetheless, Loanpal continued to demand payments from Mrs. Purnell.

        62.     Loanpal sent Mrs. Purnell monthly statements claiming that payments were due.

Copies of two such statements, redacted to delete confidential information, are attached hereto as

Exhibit “G”.

        63.     Similar statements were sent to Mrs. Purnell each month from September 2019 to

sometime in 2021.

        64.     Mrs. Purnell continued to make monthly payments to Loanpal until around May

2021.

        65.     She did so, notwithstanding having authorized her counsel to cancel the purported

loan transaction, in reliance on Loanpal’s representations that the payments were still due. She

took pride in meeting her obligations and paying her bills on time, so when Loanpal said she

owed a payment, she paid it.

        66.     The total amount that Mrs. Purnell paid Loanpal after she cancelled the purported

loan transaction will be determined through discovery.

        67.     Mrs. Purnell stopped making monthly payments in or about May 2021, having

come to the understanding that having cancelled the purported loan transaction, she was no

longer obligated to make payments.



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        68.     Mrs. Purnell then received a notice from Goodleap dated July 15, 2021. A copy of

the notice, redacted to delete confidential information, is attached hereto as Exhibit “H”. The

notice stated as follows, in relevant part:

        Your loan is in delinquent status and is near 60 days past due. Immediate action is
        needed to prevent the status from escalating. We are now reporting to credit
        agencies that your payments are past due and will continue to do so until the loan
        is brought current.
        Additional collection actions may be taken soon per your agreement with us.


        69.     As a direct result of these threats, and in order to avoid the collection actions

threatened by Goodleap, Mrs. Purnell resumed payment and on or about August 19, 2021 sent

Goodleap $472.96 to bring her account current.

        70.     Thereafter, Goodleap discontinued sending monthly statements to Mrs. Purnell,

and Mrs. Purnell again discontinued making payments.

        71.     On or about March 16, 2022, Doe, one or more representatives of Goodleap, came

to Mrs. Purnell’s home and disconnected the solar panels by placing a lock on the electrical

equipment.

        72.     Doe left a letter, a copy of which is attached hereto as Exhibit “I”.

        73.     The letter stated as follows, in relevant part:

        Goodleap has sent a representative to your property to disconnect your solar
        panels because you are in default of the terms of the Loan Agreement. In the
        event of default, you agreed to allow—Goodleap—or its agent access to the solar
        energy system, for the purpose of deactivating the system.


        74.     The letter further threated that “[p]ossible legal action may be taken if your loan is

not brought current in the next 30 days” and that the “UCC lien will remain on the property until

the loan is paid in full.”



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       75.     On or about April 3, 2022, Doe came to Ms. Purnell’s home and placed a second

lock on the electrical equipment.

       76.     As a result of the disconnection of the solar panels that are now rightfully hers,

Ms. Purnell no longer benefits from the electric power they can generate.

                             COUNT 1: DECLARATORY RELIEF

       77.     All previous averments are incorporated herein by reference.

       78.     Pursuant to the Declaratory Judgments Act, 42 Pa. C.S.A. § 7531 et seq., courts

are empowered to enter declaratory judgments to determine rights, status, and other legal

relations including determinations as to the validity of contracts and the rights of parties

thereunder.

       79.     As described above, Mrs. Purnell cancelled the purported transactions with Vivint

and Loanpal by sending them each a notice of cancellation on November 9, 2020.

       80.     As described above, neither Vivint nor Loanpal responded to the notice of

cancellation within ten days, nor did they repossess the goods within 20 days.

       81.     Nonetheless, as described above, both Sunrun and Goodleap have continued to

take actions as if the purported transactions had not been cancelled.

     WHEREFORE, Plaintiff requests that this Court:

                   a. Enter judgment in favor of Plaintiff and against Defendants Goodleap,

                       LLC, Sunrun Inc., Vivint Solar, Inc., and Vivint Solar Developer, LLC.

                   b. Declare that Plaintiff was entitled to, and validly did, cancel the purported

                       contracts with Goodleap, LLC, Sunrun Inc., Vivint Solar, Inc., and Vivint

                       Solar Developer, LLC, and that she has no payment obligation to them.



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                   c. Award the costs of this action and such other relief as the Court deems

                       necessary and proper.

                          COUNT 2: UNFAIR TRADE PRACTICES

         82.   All previous averments are incorporated herein by reference.

         83.   The “Residential Solar Energy System Purchase Agreement” and “Loan

Agreement” constitute and reflect the purchase of goods and services primarily for personal,

family or household purposes as defined in the UTPCPL, 73 P.S. § 201-9.2.

         84.   Defendants’ activities in connection with the sale and installation of the solar

panels and the arranging of a loan to cover the cost of the sale and installation constitute the

conduct of “trade and commerce” as defined in the UTPCPL, 73 P.S. § 201-2.

         85.   The goods or services provided by Vivint had a sale price of $18,900.00, which

amount is in excess of $25.00.

         86.   Likewise, the goods or services provided by Loanpal had a sale price of

$18,900.00, which amount is in excess of $25.00.

         87.   Goodleap is and at all relevant times has been a “creditor” as defined in the

Pennsylvania Fair Credit Extension Uniformity Act (“FCA”), 73 P.S. § 2270.3.

         88.   As described above, the goods and services provided by Vivint and Loanpal were

sold or contracted as a result of or in connection with a contact or call on Mr. and Mrs. Purnell at

their residence, either in person or by telephone, within the meaning of the UTPCPL, 73 P.S. §

201-7.

         89.   The sales presentation of Sunrun Inc., Vivint Solar, Inc., Vivint Solar Developer,

LLC, and Taylor to Mrs. Purnell, during which these Defendants intentionally misrepresented



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the nature of the transaction and intentionally failed to disclose the existence of a loan,

constituted unfair or deceptive acts or practices under the UTPCPL, 73 P.S. § 201-2(4), which

prohibits, among other things:

                   a. Causing likelihood of confusion or of misunderstanding as to the source,

                       sponsorship, approval or certification of goods or services. 73 P.S. § 201-

                       2(4)(ii).

                   b. Representing that goods or services have sponsorship, approval,

                       characteristics, ingredients, uses, benefits or quantities that they do not

                       have. 73 P.S. § 201-2(4)(v).

                   c. Engaging in any other fraudulent or deceptive conduct which creates a

                       likelihood of confusion or of misunderstanding. 73 P.S. § 201-2(4)(xxi).

       90.     Goodleap’s actions, as described above, in sending repeated notices demanding

payments that Mrs. Purnell was not responsible to make after having cancelled the purported

loan transaction, and in threatening collection actions if the amounts were not paid, constituted

unfair or deceptive acts or practices under the UTPCPL, 73 P.S. § 201-2(4), which prohibits,

among other things:

                   a. Causing likelihood of confusion or of misunderstanding as to the source,

                       sponsorship, approval or certification of goods or services. 73 P.S. § 201-

                       2(4)(ii).

                   b. Representing that goods or services have sponsorship, approval,

                       characteristics, ingredients, uses, benefits or quantities that they do not

                       have. 73 P.S. § 201-2(4)(v).




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                   c. Engaging in any other fraudulent or deceptive conduct which creates a

                       likelihood of confusion or of misunderstanding. 73 P.S. § 201-2(4)(xxi).

       91.     Goodleap’s actions, as described above, in sending repeated notices demanding

payments that Mrs. Purnell was not responsible to make after having cancelled the loan

transaction, in threatening collection actions if the amounts were not paid, in threatening to

report and in reporting to credit agencies that her payments were past due, and, by and through

Doe, in disconnecting the solar panels after Goodleap’s security interest in them was cancelled,

constituted unfair or deceptive debt collection acts or practices under the FCA, 73 P.S. § 2270.4,

which prohibits a creditor from using any false, deceptive, or misleading representation or means

in connection with the collection of any debt, or any unfair or unconscionable means to collect or

attempt to collect any debt, including, among other things:

                   a. The false representation of the character, amount or legal status of any

                       debt. 73 P.S. § 2270.4(b)(5)(ii).

                   b. The representation or implication that nonpayment of any debt will result

                       in the arrest or imprisonment of any person or the seizure, attachment or

                       sale of any property of any person unless such action is lawful and the

                       creditor intends to take such action. 73 P.S. § 2270.4(b)(5)(ii).

                   c. The threat to take any action that cannot legally be taken or that is not

                       intended to be taken. 73 P.S. § 2270.4(b)(5)(v).

                   d. Communicating or threatening to communicate to any person credit

                       information which is known or which should be known to be false,

                       including the failure to communicate that a debt is disputed. 73 P.S. §

                       2270.4(b)(5)(viii).


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                   e. The use of any false representation or deceptive means to collect or

                       attempt to collect any debt or to obtain information concerning a

                       consumer. 73 P.S. § 2270.4(b)(5)(x).

                   f. Taking or threatening to take any nonjudicial action to effect dispossession

                       or disablement of property if there is no present right to possession of the

                       property claimed as collateral through an enforceable security interest. 73

                       P.S. § 2270.4(b)(6)(vi)(A).

       92.     Mrs. Purnell relied upon the deceptive representations of Sunrun Inc., Vivint

Solar, Inc., Vivint Solar Developer, LLC, and Taylor as part of her decision-making process to

go forward with the transaction.

       93.     As a result of the unfair and deceptive acts and practices of Sunrun Inc., Vivint

Solar, Inc., Vivint Solar Developer, LLC, and Taylor, Mrs. Purnell has suffered an ascertainable

loss in the amount of the purported loan transaction.

       94.     As described above, Mrs. Purnell relied on Goodleap’s representations in making

payments to Goodleap after having cancelled the purported loan transaction and later, after

having discontinued payments, in deciding to resume them.

       95.     As a result of Goodleap’s unfair and deceptive acts and practices, Mrs. Purnell

has suffered an ascertainable loss in the amount of the payments she made to Goodleap after

having cancelled the purported loan transaction.

       96.     As a result of Goodleap’s unfair and deceptive acts and practices, Mrs. Purnell

has suffered a further ascertainable loss in the reduction in value of her home, reduction in value

of the solar panels affixed to her home, and lost value of the electricity that would otherwise be




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generated by such solar panels as a result of Doe’s disconnection of the panels, at Goodleap’s

behest, which rendered them unusable.

       97.     In addition, as a result of Goodleap’s and Doe’s unfair and deceptive acts and

practices, Mrs. Purnell has suffered further damages including headaches, nausea, fright, anxiety,

emotional distress, depression, and loss of sleep.

       98.     Pursuant to the UTPCPL, 73 P.S. §201-9.2, a person who suffers an ascertainable

loss of money or property as a result of the use or employment of an unfair or deceptive act or

practice prohibited by the Act may bring an action to recover actual damages or $100, whichever

is greater, and a Court may, in addition to actual damages, award treble damages, costs and

reasonable attorney’s fees, and such additional relief as it deems necessary or proper.

       99.     Pursuant to 73 P.S. § 2270.5, Goodleap’s and Doe’s actions in violation of the

FCA constitute violations of the UTPCPL.

     WHEREFORE, Plaintiff requests that this Court:

                   a. Award Plaintiff actual and treble damages against Defendants Sunrun Inc.,

                       Vivint Solar, Inc., Vivint Solar Developer, LLC, Taylor, Goodleap, and

                       Doe in an amount to be determined at trial.

                   b. Award reasonable attorney’s fees to Plaintiff’s counsel.

                   c. Award the costs of this action and such other relief as the Court deems

                       necessary and proper.

                                     COUNT 3: TRESPASS

       100.    All previous averments are incorporated herein by reference.

       101.    Goodleap and Doe acted intentionally in disconnecting the solar panels.



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        102.    Goodleap and Doe did not have Mrs. Purnell’s consent to disconnect the solar

panels and place locks on the electrical equipment. The contractual provision cited in Goodleap’s

letter (Exhibit “I”) was ineffective because Mrs. Purnell had validly cancelled the purported

contract and Goodleap had failed to respond to her notice of cancellation.

        103.    By failing to respond to the notice of cancellation within ten days and by failing

to notify Mrs. Purnell of its intention to repossess the goods within 20 days, Goodleap forfeited

all rights to the goods, including the solar panels and all payment of sums pursuant to the

purported loan.

        104.    As a result of Goodleap’s and Doe’s disconnection of the panels, Mrs. Purnell has

lost the benefit of the use of the panels. Her electric bill will increase substantially as a result, in

an average monthly amount she estimates on information and belief to be $42.91.

        105.    In connection with disconnecting the panels, Goodleap and Doe placed two large

locks on the Rapid Shutdown Disconnect, depicted on the 3-Line Drawing Vivint submitted to

PECO Energy Company in the Interconnection Application/Agreement attached hereto as

Exhibit “J”. This equipment is affixed to the front of her home, immediately adjacent to the

public sidewalk.

        106.    By placing the locks in that location, Goodleap and Doe caused Mrs. Purnell great

fear, embarrassment, and emotional distress in that her neighbors and passersby are likely to

believe that she is a deadbeat unable to pay her bills.

      WHEREFORE, Plaintiff requests that this Court:

                    a. Enter judgment in favor of Plaintiff and against Defendants Goodleap and

                        Doe.




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                   b. Enter an order requiring Defendants Goodleap and Doe to remove the

                        locks and reconnect the solar panels.

                   c. In the alternative, award Plaintiff damages against Defendants Goodleap

                        and Doe in the amount necessary for her to engage a qualified individual

                        or organization to remove the locks and reconnect the panels, in an

                        amount to be determined at trial, and order Defendants to take no steps to

                        interfere with the reconnection.

                   d. Award actual damages against Defendants Goodleap and Doe to Plaintiff

                        for the loss of use of the panels and for the fear and embarrassment she

                        has suffered, in an amount to be determined at trial.

                   e.   Award the costs of this action and such other relief as the Court deems

                        necessary and proper.

                                   COUNT 4: CONVERSION

       107.    All previous averments are incorporated herein by reference.

       108.    At the time Goodleap and Doe disconnected the solar panels and affixed locks to

the associated electrical equipment, Mrs. Purnell was the real and equitable owner of the panels,

with exclusive rights to possession.

       109.    By failing to respond to the notice of cancellation within ten days and by failing

to notify Mrs. Purnell of its intention to repossess the goods within 20 days, Goodleap forfeited

any ownership interest in the solar panels and its right to disconnect them.

       110.    Goodleap’s and Doe’s actions in disconnecting the solar panels were intended to

deprive Mrs. Purnell of her use of the panels.



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        111.    Goodleap and Doe disconnected the panels without Mrs. Purnell’s consent.

        112.    Goodleap’s and Doe’s actions in disconnecting the solar panels were wrongful,

without lawful justification, inconsistent with, and violative of the property rights of Mrs.

Purnell.

        113.    As a result of Goodleap’s and Doe’s disconnection of the panels, Mrs. Purnell has

lost the benefit of the use of the panels. Her electric bill will increase substantially as a result, in

an average monthly amount she estimates on information and belief to be $42.91, for the

indefinite future.

        114.    In disconnecting the panels, Goodleap and Doe placed two large locks on the

Rapid Shutdown Disconnect adjacent to the public sidewalk.

        115.    By placing the locks in that location, Goodleap and Doe caused Mrs. Purnell great

fear, embarrassment, and emotional distress in that her neighbors and passersby are likely to

believe that she is a deadbeat unable to pay her bills.

      WHEREFORE, Plaintiff requests that this Court:

                     a. Enter judgment in favor of Plaintiff and against Defendants Goodleap and

                        Doe.

                     b. Enter an order requiring Defendants Goodleap and Doe to remove the

                        locks and reconnect the solar panels.

                     c. In the alternative, award Plaintiff damages against Defendants Goodleap

                        and Doe in the amount necessary for her to engage a qualified individual

                        or organization to reconnect the panels, in an amount to be determined at




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                       trial, and order Defendants to take no steps to interfere with the

                       reconnection.

                   d. Award Plaintiff actual damages against Defendants Goodleap and Doe for

                       the loss of use of the panels and for the fear and embarrassment she has

                       suffered, in an amount to be determined at trial.

                   e. Award the costs of this action and such other relief as the Court deems

                       necessary and proper.

                               COUNT 5: SLANDER OF TITLE

       116.    All previous averments are incorporated herein by reference.

       117.    As described above, on March 6, 2019, a UCC Financing Statement was recorded

against the property by “Paramount Equity Mortgage, LLC DBA Loanpal,” purporting to take a

security interest in Mrs. Purnell’s title and interest in the solar panels and associated equipment.

       118.    On information and belief, Goodleap, as successor to or alternative name for

Paramount and Loanpal, is the present holder of the UCC Financing Statement.

       119.    Upon Mrs. Purnell’s cancellation of the purported loan transaction and

Goodleap’s failure to respond to the notice of cancellation, the UCC Financing Statement no

longer constituted a lien on the property.

       120.    Nonetheless, Goodleap failed and refused, after Mrs. Purnell cancelled the

purported loan transaction, to release the UCC Financing Statement of record.

       121.    Goodleap knew or should have known that upon cancellation of the purported

loan transaction and the failure to respond to the notice of cancellation, the UCC Financing

Statement was no longer valid and must be released of record.



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        122.        Goodleap expressly recognized that it was clouding the title of Mrs. Purnell’s

property when it stated in its letter that the “UCC lien will remain on the property until the loan

is paid in full.”

        123.        The continued existence of record of an unreleased UCC Financing Statement is

of a disparaging nature that could foreseeably impair the value of the property in the estimation

of others.

        124.        As a result of Goodleap’s continued failure to release the UCC Financing

Statement, Mrs. Purnell has suffered damages, in that the value of her equity in her home is

diminished by the amount of the remaining balance of the cancelled loan, the precise amount of

which will be determined in discovery.

      WHEREFORE, Plaintiff requests that this Court:

                       a. Enter judgment in favor of Plaintiff and against Defendant Goodleap.

                       b. Award Plaintiff damages and against Defendant Goodleap in an amount to

                           be determined at trial.

                       c. Award Plaintiff the costs of this action and for such other relief that this

                           Court deems necessary and proper.

                              COUNT 6: FRAUD IN THE EXECUTION,
       FRAUDULENT CONCEALMENT, AND FRAUDULENT NONDISCLOSURE


        125.        All previous averments are incorporated herein by reference.

        126.        At all times relevant, Leroi Taylor was acting on behalf of and at the behest of

Vivint and Goodleap, and the acts, statements, and omissions of Taylor are imputed to those

Defendants.




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       127.    Taylor intentionally misrepresented the nature of the transaction and intentionally

failed to disclose the existence of a loan.

       128.    At no point did Taylor show any loan documents or paperwork to Mrs. Purnell.

This was intentional.

       129.    A reasonable and honest person in Taylor’s position would have disclosed the

nature of the transaction, the existence of a loan, and loan documents.

       130.    Mrs. Purnell relied upon Taylor’s representations and omissions in agreeing to

proceed with the panels.

       131.    Because of Taylor’s intentional representations and omissions, Mrs. Purnell was

prevented from learning about the nature of the transaction until July 2020.

       132.    As a result of the representations and omissions of Defendants’ agent, Taylor,

Mrs. Purnell became obligated to Goodleap without her knowledge or consent, the value of her

home has been reduced, and she has experienced headaches, nausea, fright, anxiety, emotional

distress, depression, and loss of sleep.

      WHEREFORE, Plaintiff requests that this Court:

                   a. Enter judgment in favor of Plaintiff and against Defendants Sunrun Inc.,

                        Vivint Solar, Inc., Vivint Solar Developer, LLC, Taylor, and Goodleap.

                   b. Award Plaintiff damages and against Defendants Sunrun Inc., Vivint

                        Solar, Inc., Vivint Solar Developer, LLC, Taylor, and Goodleap.

                   c. Award Plaintiff the costs of this action and for such other relief that this

                        Court deems necessary and proper.




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PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS TO WHICH SHE IS SO
ENTITLED.


                             /s/ Peter D. Schneider
                             Community Legal Services, Inc.
                             1424 Chestnut Street
                             Philadelphia, PA 19102
                             215-981-3718
                             Email: pschneider@clsphila.org

                              /s/ Robert W. Ballenger
                             Community Legal Services, Inc.
                             1424 Chestnut Street
                             Philadelphia, PA 19102
                             215-981-3788
                             Email: rballenger@clsphila.org

                             _/s/ Andrew M. Milz_______
                             CARY L. FLITTER
                             ANDREW M. MILZ
                             JODY THOMAS LOPEZ-JACOBS
                             FLITTER MILZ, PC
                             450 N. Narberth Avenue, Suite 101
                             Narberth, PA 19072
                             (610) 822-0782
                             amilz@consumerslaw.com
                             jlopez-jacobs@consumerslaw.com

                             Attorneys for Plaintiff




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                     EXHIBIT “B”




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                     EXHIBIT “C”




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                     EXHIBIT “D”




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                     EXHIBIT “E”




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                     EXHIBIT “F”




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Vivint Solar Developer, LLC and Loanpal
November 9, 2020


cancel and return any negotiable instrument executed by Ms. Purnell in connection with the
contract or sale and take any action necessary or appropriate to terminate promptly any security
interest created in the transaction.

       Please let me know if you have any questions or wish to discuss this matter.

                                     Sincerely,



                                     Peter D. Schneider
                                     Supervising Attorney




           Community Legal Services, Inc., 1424 Chestnut Street, Philadelphia, PA 19102
         PSchneider@CLSPhila.org ▪ Direct Dial: 215.981.3718 ▪ Fax: 215.981.0436
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                     EXHIBIT “G”




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                     EXHIBIT “H”




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                      EXHIBIT “I”




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                      EXHIBIT “J”




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        INTERCONNECTION                       APPLICATION/AGREEMENT                                - PART 1
                               With Terms and Conditions for Interconnection
                   For a Level 1 Review (Certified Inverter-based Units of 10kW and under)
                   (Application & Conditional Agreement — to be filled out prior to installation)

CUSTOMER          GENERATOR         CONTACT          INFORMATION

Legal Name and Mailing Address of Customer: -Gener ator: (if an Individual, Individual’s Name)
Name: Gwendolyn Purnell
Mailing Address: 1827 Morris St
City: Philadelphia                                              State: PA             Zip Code: 19145
Contact Person (If other than Above): Vivint Solar Developer
Mailing Address (If other than Above):
Telephone (Daytime): |            (215)    755-9748                 (Evening):
Facsimile Number:                                              B-Mail Address:       _          gpurne2@aol.com           _

Alternative Contact Information:           (if different from Customer-Generator above)

Name: Cindy Mounga
Mailing Address:        1800 W Ashton Blvd

City; Lehi                                                      State: UT             Zip Code: 84043
Telephone (Daytime):                (385) 352-0158                  (Evening):
Facsimile Number:                                              E-Mail Address:             PAlInterconnection@vivintsolar.com
                                                                                         “PLEASE CONTACT BY EMAIL ONLY


The Customer-Generator Facility’s Information:

Facility Address: 1827 Morris St.
City; Philadelphia                                                 State: PA        Zip Code: 19145
Nearest Crossing Street:
Electric Distr ibution Company: PECO
Account #:          |                                  _              Meter#:
Current Annual Energy Consumption:                6,100kWh                                    Estimated In-service Date: 3/3/18.
Application Fee Enclosed: Yes                                                                   Inverter Type;     Grid Interactive
Energy Source: Sol ar (PV)                                 Manufacturer: _ Solar Edge                   3           oe                  |
Number of Units:|odo                      Model Number of Inverter: SE3800H-US
Inverter Rating: _3.8 kWac                                  Ampere Rating: 90 Ampsac                        Number of Phases:One
Voltage Rating:    240 Vac,                  DC Source Rating:       4.725 kWoc                 Nominal DC Voltage:           350 Voc
Power Factor:     96 %,                          Frequency: 60 Hz,                        IEEE1547/UL1741        Certification: Yes



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Utility Accessible Disconnect or Lock Box: Disconnect - Next to Meter
One-line Diagram Attached (Required): Yes                                                Site Plan Attached (Required): Yes
Do you plan to export power?       Yes, Frequently - Occasional net monthly export
If Yes, Estimated Maximum:                kWac,                   Estimated Gross Annual Energy Production:             kWh


Equipment     Installation Contractor:         (Indicate by owner if applicable)
Name: Vivint Solar
Mailing   Address:   71800 W   Ashton   Blvd

City: Lehi                                                         State: UT Zip Code: 84043
Contact Person (If other than Abovey: David Gooch
Telephone (Daytime):             (385) 352-0158                  (Evening):
Facsimile Number:                                                E-Mail Address:    PAlnterconnection@vivintsolar.com
                                                                                   “PLEASE CONTACT BY EMAIL ONLY


Electrical Contractor: (if applicable)
Name: Vivint Solar
Mailing Address: 1800 W Ashton Blvd
City: Lehi                                                         State: UT Zip Code: 84043
Contact Person (if other than Abovey; Donald Stauffer
Telephone (Daytime):             (385) 352-0158                  (Evening):
Facsimile Number:                                                E-Mail Address:      tony.stauffer@vivintsolar.com




Customer-Generator Insurance Disclosure:
The attached Terms and Conditions contain provisions related to liability, and indemnification and
should be carefully considered by the Customer-Generator. The Customer-Generator is not required
to obtain liability insurance coverage as part of this Application/Agreement; however, the Customer-
Generator is advised to consider obtaining appropriate coverage.

Customer-Generator Signature:
I hereby certify that: 1) I have read and understand the Terms and Conditions which are attached
hereto by reference and are made a part of this Application/Agreement; and 2) to the best of my
knowledge, all of the information provided in this Application/Agreement is true and I agree to abide
by the attached Terms and Conditions, including the application process set forth therein.

Customer-Generator Signature:                                                          Date:   11/28/18

Printed Name: Ms       Gwendolyn                 Purnell                               Title: Homeowner




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Conditional Approval to Interconnect Customer-Generator Facility: (for Use by PECO Only)
The requested information is complete and interconnection of the Customer-Generator Facility is
approved contingent upon the Terms and Conditions of this Agreement, the return of a duly executed
Certificate of Completion, verification of electrical inspection and successful witness test or PECO
waiver thereof.
PECO Signature:                                                                   Date:

Printed Name:                                                     Title:




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                            Interconnection Application/Agreement
                           Terms and Conditions for Interconnection
                    For a Level 1 Review (Certified Inverter-based Units of 10kW and under)

I.   Construction of the Customer-Generator Facility. The Customer-Generator may proceed
     to construct (including operational testing not to exceed 2 hours) the Customer-Generator
     Facility once the approval to install the Customer-Generator Facility has been received from
     the Electric Distribution Company (PECO).

     The Customer-Generator Facility shall be constructed in accordance with information
     provided in Part 1 of the Interconnection Application/Agreement, IEEE 1547 and the
     Commission’s regulations.


     Once an Interconnection Request is deemed complete, any modification to the proposed
     Customer-Generator Facility that would affect the application review criteria for a Level 1
     review that is not agreed to in writing by PECO, shall require submission of a new
     Interconnection Request.



2.   Interconnection and Operation. The Customer-Generator may interconnect and operate the
     Customer-Generator Facility with PECO’s system once all of the following have occurred:
     2.1. Electrical Inspection: Upon completing construction, the Customer-Generator will have
          the Customer-Generator Facility inspected or otherwise certified by the local electrical
          wiring inspection authority having jurisdiction over the Customer-Generator Facility.
     2.2. Certificate of Completion: The Applicant shall provide PECO with a completed copy of
          the Certificate of Completion, including evidence of the electrical inspection by the local
          authority having jurisdiction. The evidence of completion of the electrical inspection
          may be provided on inspection forms used by local inspecting authorities.
      2.3. Inspection: PECO has either completed its inspection or waived the right to inspection
          in the Application/Agreement as follows:
         2.3.1.      PECO Right of Inspection. After receipt of the Certificate of Completion, PECO
                  will, upon reasonable notice (minimum of 10-days notice as noted in 2.3.2 below)
                  and at a mutually convenient time, conduct an inspection of the Customer-Generator
                  Facility and perform a Witness Test to ensure that all equipment has been




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            appropriately installed and that all electrical connections have been made as
            required.
   2.3.2.      Witness Test. For Level 1 review projects only, if PECO does not inspect the
            installation within the minimum notice period of 10 business days, or by mutual
            agreement of the Parties, the Witness Test is deemed waived.
2.4, Metering: Revenue quality metering equipment shall be installed and tested by PECO.
    (Note: PECO may allow interconnected operations prior to the meter installation.)
2.5. Acceptance: PECO’s representative has signed Part 2, the Certificate of Completion,
     approving the facility for energization.

Periodic Testing. All interconnection-related protective functions and associated batteries
shall be periodically tested at intervals specified by the manufacturer, system integrator, or
authority that has jurisdiction over the Customer-Generator Facility interconnection. Periodic
test reports or a log for inspection shall be maintained.

Safe Operations and Maintenance.         The Customer-Generator shall be fully responsible for
the operation, maintenance and repair of the Customer-Generator Facility as required to
ensure that the Customer-Generator Facility complies at all times with the interconnection
standards it has been certified to meet.

Access. PECO shall have access to the metering equipment and the disconnect/isolation
device of the Customer-Generator Facility at all times. PECO shall provide reasonable
notice to the Customer-Generator, when possible, prior to using its right of access. In an
emergency or outage situation, where there is no access to an AC disconnect/isolation device
such as a switch or breaker, PECO may disconnect the electrical service to the premises.

Exterior AC Disconnect Switch / Isolation Device. Small generator facilities shall be
capable of being isolated from PECO by means of a lockable, visible-break isolation device
accessible by PECO. The isolation device shall be installed, owned and maintained by the
owner of the small generation facility and located between the small generation facility and
the point of interconnection. A draw-out type circuit breaker with a provision for padlocking
at the draw-out position can be considered an isolation device for purposes of this
requirement.

An interconnection customer may elect to provide PECO access to an isolation device that is
contained in a building or area that may be unoccupied and locked or not otherwise readily
accessible to PECO, by installing a lockbox provided by PECO that shall provide ready
access to the isolation device. The interconnection customer shall install the lockbox in a
location that is readily accessible by PECO and the interconnection customer shall permit




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     PECO to affix a placard in a location of its choosing that provides clear instructions to PECO
     operating personnel on access to the isolation device. The interconnection customer, at its
     option, may provide and install both the lockbox & placard.

     Operations / Disconnection. PECO may temporarily disconnect the Customer-Generator
     Facility upon occurrence of the following conditions:
     7.1. For scheduled outages upon reasonable notice,
     7.2. For unscheduled outages or emergency conditions,
     7.3. If PECO determines that the Customer-Generator Facility does not operate in a manner
             consistent with this Application/Agreement.
     7.4. If PECO determines that continued operation of the Customer-Generator Facility is a
          safety hazard to PECO’s personnel or to the general public.
     7.5. In the event the interconnection equipment used by the Customer-Generator Facility is
          de-listed by the Nationally Recognized Testing Laboratory that provided the listing at
             the time the interconnection was approved and PECO ascertains that continued operation
             has the potential to cause a safety, reliability or a power quality problem.

     Indemnification.      The Parties shall at all times indemnify, defend, and save the other Party
     harmless from, any and all damages, losses, claims, including claims and actions relating to
     injury to or death of any person or damage to property, demand, suits, recoveries, costs and
     expenses, court costs, attorney fees, and all other obligations by or to third parties, arising out
     of or resulting from the other Party's action or inactions of its obligations under these terms
     and conditions on behalf of the indemnifying Party, except in cases of gross negligence or
     intentional wrongdoing by the indemnified Party.

9.   Limitation of Liability. Each party’s liability to the other party for any loss, cost, claim,
     injury, liability, or expense, including reasonable attorney’s fees, relating to or arising from
     any act or omission in its performance of these terms and conditions, shall be limited to the
     amount of direct damage actually incurred. In no event shall either party be liable to the
     other party for any indirect, incidental, special, consequential, or punitive damages of any
     kind whatsoever.

10. Termination.        This Application/Agreement may be terminated under the following
     conditions:

     10.1.     By Customer-Generator. The Customer-Generator may terminate this
             Application/Agreement by providing written notice to PECO.




                                                   L1-6

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   10.2.     By PECO. PECO may terminate this Application/Agreement if the Customer-
           Generator fails to remedy a violation of terms of this Application/Agreement upon
           written notice and a reasonable opportunity to cure.

Il. Permanent Disconnection. In the event the Application/Agreement is terminated, PECO
    shall have the right to disconnect its facilities or direct the Customer-Generator to disconnect
    its Customer-Generator Facility.

12. Survival Rights. This Application/Agreement shall continue in effect after termination to
   the extent necessary to allow or require either Party to fulfill its rights or obligations that
   arose under the Application/Agreement.

13, Assignment/Transfer of Ownership of the Customer-Generator Facility: This
    Application/Agreement shall survive the transfer of ownership of the Customer-Generator
    Facility to a new owner unless the new owner terminates this Application/Agreement and so
    notifies PECO in writing. PECO will be responsible for contacting the new customer to
    execute a new Application/Agreement or assignation agreement, in order for the new owner
   to be treated as a Net Metering customer.

14. Definitions. The capitalized terms used herein, and the definitions of such terms, are as those
    used in regulations adopted by the Pennsylvania Public Utility Commission at 52 Pa. Code
   § 75.22, relating to Interconnection Standards and Definitions.

15. Notice. Unless otherwise provided in this Application/Agreement, any written notice,
    demand, or request required or authorized in connection with this Application/Agreement
    (“Notice”) shall be deemed properly given if delivered in person, delivered by Electronic
    Mail (E-mail) delivered by recognized national courier service, or sent by first class mail,
   postage prepaid, to the person specified below:

   If to PECO:
   The contact listed on PECO’s website as the primary contact for PECO listed in the
   Customer-Generator’s Facility Information section on Page 1 of the Interconnection
   Application/Agreement.


   If to Customer-Generator:

   The contact listed in the Legal Name and Mailing Address of Customer-Generator section on
   Page 1| of the Interconnection Application/Agreement. The Customer-Generator is
   responsible for notifying PECO of any change in the contact party information.




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In the event the original   applicant sells or otherwise transfers ownership of the property listed in
the Customer-Generator      Facility’s Information section listed on Page 1 of the Interconnection
Application/Agreement,      the original applicant shall provide PECO with the appropriate contact
information for the new     owner of the property. Upon any subsequent transfer of ownership, the
then current owner shall    provide PECO with the new owner’s information.




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                                                                                                 Case ID: 220601757
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 Case ID: 220601757
                                                                                                                                                                                                          Case ID: 220601757
                                                                                                                        PV STRING(S): Ee SECTIONS}                      SYSTEM LEGEND
                                                                                                                      WA wyiswooues “AZIMUTH-8              PV SYSTEM SIZE:
                                                                                                                                     RUBBER) ~ MEMBRANE     NEWA725KWDC                 |     3.800KWAC
                                                                                                                                                                    EXISTING INTERIOR MAIN SERVICE PANEL &
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                                                                                                                                                          [m1]      POINT OF INTERCONNECTION, TIED TO UTILITY
                                                                                                                                                                   METER #121945896,
                                                                                                                                                            2      WITHIN 10° OF MSP.
                                                                                                                                                                   4 NEW PV SYSTEM INVERTER: SolarEdge Technologies,
                                                                                                                                                                   SE3800H-USCOONNC2 (RSD EQUIPPED)
                                                                                                                                                                   45 NEW HANWHA SOLAR Q,PEAK BLK-G5 315
                                                                                                                                                                   MODULES,
                                                                                                                                                                   NEW SOLAR EDGE P320 OPTIMIZERS, MOUNTED
                                                                                                                                                                   ON THE BACK OF EACH MODULE.
                                                                                                                                                            NEW PV CONDUIT RUN.’SEE EE1.0 CONDUIT SCHEDULE
                                                                                                                                                           See wennen EXTERIOR RUN mm             = ATTIC RUN
                                                                                      O




                                                                                                                                                            TE NEW JUNCTION BOX. (MOUNTED TO PV MODULE)
                                 1827 MORRIS ST




                                                                                                                                                                                   FIRE CODE OFFSET
                                                                                                                                                                                   RIDGE: — | RAKE: 36"
                                                                                                                                                                                   HIP/VALLEY:—
                                                                    FRONT OF HOUSE.




                                                                                                                                                                               4.877.404.4129
                                                                                                                                                      [SIPNEI|                              BEGIMENCE.
                                                                                                                                                              PURNELL RESIDENCE
                                                                                                                                                                   1827 MORRIS ST
                                                                                                                                                               PHILADELPHIA, PA, 19145
                                                                                                                                                           UTILITY ACCOUNT #: 15713-00809
                                                                                                                                                           Nl
                                                                                          s>- SITE PLAN
                                                                                                                                                           [Oc
                                                                                                                                                           SERVICE #, S-6023074
                                                                                                                                                           REGIONAT                             PV                     0
                                                                                                                                                           OPERATING CENTER: PA-O2                                 .
                                                                                                                                                           DATE: 11/80/2018
                                                                                                SCALE: 1/4" = 1'-0"                                       \ORAWN    BY: DIN
                                                                                                                                                                                                                                                                                                                       Case ID: 220601757
                                                                                                                                       Photovoltaic System                                  Conduit Conductor Schedule (ALL CONDUCTORS MUST BE COPPER)
                                                                                                                             DC System Size (Watts)          4725    Tag #                 Description               Wire Gauge    # of Conductors/Color  Conduit Type | Conduit Size
Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 89 of 113




                                                                                                                                                                                                                                                                                                        Utility Account:15713-00809
                                                                                                                             AC System Size (Watts}          33800           1]PV Wire                              10 AWG      2(V+, V-)                N/A-Free Air |N/A-Free Air




                                                                                                                                                                                                                                                                                                            Philadelphia, PA 19145
                                                                                                                               Total Module Count              15            1|Bare Copper Ground - EGC             6 AWG       1 BARE                   N/A-Free Air |N/A-Free Air




                                                                                                                                                                                                                                                                                                               Purnell Residence
                                                                                                                                                                                                                                                                                                                 1827 Morris St
                                                                                                                                                                             2{THWN   -2                                10 AWG         2(1V+, 1V-) B/R            EMT              1/2"
                                                                                                                                                                             2(THWN-2 - EGC                             12 AWG         1{GRN}                     EMT              1/2”
                                                                                                                                                                             3]THWN   -2                                10 AWG         3({1L4 1L2 1N)} B/R/W      EMT              1/2"
                                                                                                                                                                             3B{THWN-2 - EGC                            12 AWG         1{GRN)                     EMT              1/2"
                                                                                                                                                                             4|Existing Service Cable                   Z2AL           3{1L1 1L2 1N)              SER              N/A
                                                                                                                                                                     Tag #                  Description                       Length
                                                                                                                                                                             3)THWN   -2                                15°
                                                                                                                                                                             4iExisting Service Cable                   10°
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                                                                                                             Solar Edge                                                                                                                                                                                  2/818
                                                                                                                                                                                                                                                                                                         e
                                                                                                            SE3800H-US
                                                                                                         *Conforms to ANS!                                                                                                                         Point of Interconnection,
                                                                                                                                                                                                                                                                                                         2/3/24
                                                                                                                                                                                                                                                                                                            2)%
                                                                                                                                                                                                                                                                                                         S|MSL
                                                                                                            €12.1-2008                                                                                    Rapid Shutdown                         Load Side 705,12(B)(2){3)(b)                            Hislsig
                                                                                                                                                                                                        Disconnect, Square D                                                                             wys
                                                                                                                                                                                                                                                                                                         Sip   weS
                                                                                                                                                                                                        DU221RB,   240V/30A,                                                                             <Zjpaxjpels
                                                                                                                                                                                                                                                                                                         Eleyae
                                                                                                                                                                                                        Unfused, NEMA3, or                                                                                YQ Bays
                                                                                                                                                                                                                                                                                                         212) oo
                                                                                                                                                                                                             equivalent
                                                                                                                                                                                                                                                                                                        SHEET
                                                                                                                                                                                                                                                                                                        NAME
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                                                                                                                                                                                                                                                                                 Existing 240V/100A             oe =
                                                                                                                                                                                                                                                                                Service Panel, Single          =af 2
                                                                    sTRING 1:15 pv (_T]   (27)    [45]                                                                                                                                                                            Phase, with 100A
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                                                                       MODULES                                                                                                                                                                                                    Main Disconnect




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                                                                                            STC
                                                                                                                                                                                                        Visible/Lockable 'Knife’ AC     Minimum GEC size8                                                             we
                                                                                                                                                                                                                Disconnect                 AWG copper                                                                 ui
                                                                                                                                                                                                                                                                                                                                                      Case ID: 220601757
                                                                                                                                                                               PV Module Rating @ STC                                                                  Conductor Calculations
Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 90 of 113




                                                                                                                                                                                                                                                                                                                                                                 a
                                                                                                                                                             Module Make/Model                Hanwha   Q.PEAK DUO       BLK-G5 315                                                                                                                       w       8
                                                                                                                                                                                                                                                                                                                                                                 3
                                                                                                                                                                                                                                        Wire gauge calculated from code art. 310.15(B){16) with ambient temperature calculations from
                                                                                                                                                       Max. Power-Point Current (Imp)                    9.41                  Amps
                                                                                                                                                                                                                                        art. 310.15(8)(2)(a).
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                                                                                                                                                       Max. Power-Point Voltage (Vmp}                   33.46                  Volts                                                                                                              nm
                                                                                                                                                                                                                                        For "On Roof" conductors we use the 30°C column ampacity, the relevant ambient temperature        Ble
                                                                                                                                                                                                                                                                                                                                          aE   e/a4
                                                                                                                                                          Open-Circuit Voltage (Voc)                    40.29                  Volts    adjustment, and raceway fill adjustments from 310.15{B){16).                                      £[Li sje
                                                                        Optimizer                             Solar Edge P320                              Short-Circuit Current (isc)                   9.89                  Amps     For "Off Roof” conductors we use the 75°C column ampacity, or the 90°C column ampacity with the   =|=/5|§
                                                                                                                                                                                                                                                                                                                                          Gjs|/L2i6
                                                                                                                                                            Max. Series Fuse (OCPD)                       20                   Amps                                                                                                       eX) ol] o
                                                                        DC Input Power                            320 | Watts                                                                                                           relevant ambient temperature and raceway fill adjustments, whichever is less.                     Elal/tlg
                                                                        OC Max. Input Voltage                      48 | Volts                          Nom. Max. Power at STC (Pmax)                     315                   Watts    The rating of the conductor after adjustments MUST be greater than, or equal to, the continuous   a=i} 21a
                                                                                                                                                                                                                                                                                                                                                |<
                                                                                                                                                                                                                                                                                                                                                         as=
                                                                                                                                                                                                                                                                                                                                                        mo) ae
                                                                        DC Max. Input Current                   13.75 | Amps                                  Max. System Voltage                      1000 V (IEC)(UL)                 duty uprated output current.
                                                                                                                                                                                                                                        Calculation Example - Wire Rating (90°C) x Ambient Temperature Adjustment x Conduit                                      5
                                                                        DC Max. Output Current                      15} Amps                             Voc Temperature Coefficient                   -0.28                  | %/C
                                                                                                                                                                                                                                        Adjustment >= Continuous Duty Output Current
                                                                        Max. string rating inverter dependent. See SE documents.
                                                                                                                                                                                                                                        (On Roof, Tag 2): 10 gauge wire rated for40 A, 40 Ax 0.96 x 1 (2 Conductors) = 38.4 A>= 18.75 A
                                                                        inverter Make/Model                Solar Edge SE3800H-US                       AC Output Current According to art. 690.8(B)(1)      _| 15.83 | Amps                                                              35 A>=19.79A
                                                                                                                                                                                                                                        (Off Roof, Tag 3): 10 gauge wire rated for35A,
                                                                        CEC Efficiency                             991%                                             Nominal AC Voltage               [240 | volts
                                                                        AC Operating Voltage                     240 | Volts                          THIS PANEL IS FED 8Y MULTIPLE SOURCES (UTILITY AND SOLAR}
                                                                        Cont. Max. Output Current                  16}   Amps
                                                                        DC Max. Input Current                    10.5}   Amps                        Rooftop conductor ampacities designed in compliance with art.
                                                                        Short Circuit Current                    17.5 | Amps                         690.8, Tables 310.15(B)(2)(a), 310.15(B)(3}{a}, 310.15(B)(3)(c),
                                                                        Max. Output Fault Current                         17.5 A/20 ms               310.15(8)(26), Chapter 9 Table 4, 5, & 9. Location specific
                                                                                                                                                     temperature obtained from ASHRAE 2017 data tables.
                                                                                                                                                     ASHRAE 2017 -                                                                                                                                                                                               sa
                                                                                                                                                                                                                                                                                                                                                                ant
                                                                                                                                                     Highest Monthly 2% D.B. Design Temp.: 34.5 °C                                                                                                                                                               s
                                                                                                                                                                                                                                                                                                                                                                ~~
                                                                                                                                                     Lowest Min. Mean Extreme D.B.: -16.5 °C                                                                                                                                                                    N
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                                                                                                                                                                                                                                                                           OCPD Calculations                                                    ~
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                                                                                                                                                                                                                                                                                                                                                =
                                                                                                                                                                                                                                       Breakers sized according to continuous duty output current. PV circuit nominal current based off         Rg
                                                                                                                                                                                                                                       inverter continuous output current X (1.25{art. 690.8(A)}).
                                                                                                                                                                                                                                                                                                                                          @|%
                                                                                                                                                                                                                                                                                                                                          8) =/R
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                                                                                                                                                                                                                                                                                                                                          28/3
                                                                                                                                                                                                                                                                                                                                          K
                                                                                                                                                                                                                                       inverter 1: SE3800H-US Max Output = 15.83 Ax 1.25 fart. 690.8(A}]                                  2/8/81|
                                                                                                                                                                                                                                                                                                                                          Sl(</<
                                                                                                                                                                                                                                          = 19.79 A<20A {OCPD}                                                                            S{2Q\|a
                                                                                                                                                                                                                                                                                                                                          Pls i.
                                                                                                                                                                                                                                       system output current w/ continuous duty = 19.79 < 20A (System OCPD)                               fal
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                                                                                                                                     Other Notes
                                                                                                                                                                                                                                                                                                                                          SHEET
                                                                    * Designed according to, and ali code citations are relevant to, the NEC 2017,
                                                                                                                                                                                                                                                                                                                                          NAME:
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                                                                                                                                                                                                                                                                                                                                                 E.2
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Single Phase Inverter
with HD-Wave Technology
for North America
SE3000H-US / SE3800H-US / SE5000H-US /
SE6000H-US / SE7600H-US / SE10000H-US / SE11400H-US




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Optimized installation with HD-Wave technology
® Specifically designed to work with power optimizers
  Record-breaking efficiency
  Fixed voltage inverter for longer strings
  integrated arc fault protection and rapid shutdown for NEC 2014 and 2017, per article 690.11 and 690,12
  UL1741 SA certified, for CPUC Rule 21 grid compliance
   Extremely small
   High reliability without any electrolytic capacitors
   Built-in: module-level monitoring
  Outdoor.and indoor installation
  Optional: Revenue grade data, ANSI C12.20 Class 0.5 (0.5% accuracy)




                                                                                                            www.solaredge.us

                                                                                                              Case ID: 220601757
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                                                                           Single Phase Inverter
                                                                          with HD-Wave Technology for North America
                                                                          SE3000H-US / SE3800H-US / SE5000H-US /
                                                                          SE6000H-US/ SE7600H-US / SE10000H-US / SE11400H-US

                                                          SE3000H-US | SE3800H-US | SE5000H-US | SEGOQOH-US                              | SE7600H-US | SE10000H-US | SE11400H-US |
 OUTPUT
 Rated AC Power Output                                         3000           3800 @ 240V                5000           6000 @ 240v          7600         10000          11400        VA




 Utility Monitoring, Islanding Protection,
 Country Configurable Thresholds
 INPUT




 Nighttime Power Consumption                                                                                                      <2.5                                                Ww
 ADDITIONAL FEATURES

             G                                           Aas

 Rapid Shutdown - NEC 2014 and 2017
 690.12
 STANDARD COMPLIANCE


 Emissions
 INSTALLATION SPECIFICATIONS




) For other regional settings please contact SolarEdge support
@) Revenue grade Inverter P/N; SExxxxH-USOOONNC2
&) For power de-rating information refer to: https://wwaw.solaredge.com/sites/default/files/se-temperature-derating-note-na.pdf
(41.40 version P/N: SExxxxH-USOOONNU4




                                                                                                                                                                         Case ID: 220601757
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COMMUNITY LEGAL SERVICES, INC.                                             Filed and Attested by the
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                                                                        OfficeGwendolyn PurnellRecords
                                                                                 of Judicial
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Narberth, PA 19072
(610) 822-0782

 Gwendolyn Purnell,                               COURT OF COMMON PLEAS
              Plaintiff,                          PHILADELPHIA COUNTY
                                                  CIVIL DIVISION
             v.
                                                  June Term, 2022
 Goodleap, LLC, et al.,
                Defendants.                       No. 01757

                                   AFFIDAVIT OF SERVICE

       I, Jody Lopez-Jacobs, counsel for Plaintiff Gwendolyn Purnell, swear that on June 27,

2022, the Complaint and Notice to Defend were served on Defendant Goodleap, LLC by certified

mail, restricted delivery. Attached is the signed return receipt. I verify that the foregoing is true

and correct to the best of my knowledge, information and belief, and that the foregoing is subject

to the penalties of 18 Pa.C.S. § 4904 relating to unsworn falsification to authorities.




                                                                                           Case ID: 220601757
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 94 of 113




Date: 7/7/2022                            s/Jody T. López-Jacobs
                                         CARY L. FLITTER
                                         ANDREW M. MILZ
                                         JODY THOMAS LÓPEZ-JACOBS
                                         Flitter Milz, PC
                                         450 N. Narberth Avenue, Suite 101
                                         Narberth, PA 19072
                                         (610) 822-0782
                                         cflitter@consumerslaw.com
                                         amilz@consumerslaw.com
                                         jlopez-jacobs@consumerslaw.com

                                         Attorneys for Plaintiff




                                                                             Case ID: 220601757
Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 95 of 113




                                                               Case ID: 220601757
Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 96 of 113




                                                  Filed and Attested by the
                                                 Office of Judicial Records
                                                     06 JUL 2022 11:33 am
                                                          B. MERCEDES




                                                               Case ID: 220601757
       Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 97 of 113




COMMUNITY LEGAL SERVICES, INC.                                         Filed and Attested by the
By: PETER D. SCHNEIDER, ESQUIRE                    Attorneys for Plaintiff
                                                                     OfficeGwendolyn PurnellRecords
                                                                              of Judicial
Attorney I.D. No. 40351                                                   06 JUL 2022 11:37 am
By: ROBERT W. BALLENGER, ESQUIRE                                               B. MERCEDES
Attorney I.D. No. 93434
1424 Chestnut Street
Philadelphia, PA 19102
215-981-3718

FLITTER MILZ, P.C.
BY: CARY L. FLITTER
Attorney ID No. 35047
BY: ANDREW M. MILZ
Attorney ID No. 207715
BY: JODY T. LÓPEZ-JACOBS
Attorney ID No. 320522
450 N. Narberth Ave, Suite 101
Narberth, PA 19072
(610) 822-0782

 Gwendolyn Purnell,                             COURT OF COMMON PLEAS
               Plaintiff,                       PHILADELPHIA COUNTY
                                                CIVIL DIVISION
               v.
                                                June Term, 2022
 Goodleap, LLC, et al.,
                 Defendants.                    No. 01757

                                 AFFIDAVIT OF SERVICE

        I, Jody Lopez-Jacobs, counsel for Plaintiff Gwendolyn Purnell, swear that on June 30,

2022, the Complaint and Notice to Defend were served on Defendant Vivint Solar Developer, LLC

by certified mail, restricted delivery. Attached is the signed return receipt. I verify that the

foregoing is true and correct to the best of my knowledge, information and belief, and that the

foregoing is subject to the penalties of 18 Pa.C.S. § 4904 relating to unsworn falsification to

authorities.




                                                                                       Case ID: 220601757
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 98 of 113




Date: 7/6/2022                            s/Jody T. Lopez-Jacobs
                                         CARY L. FLITTER
                                         ANDREW M. MILZ
                                         JODY THOMAS LÓPEZ-JACOBS
                                         Flitter Milz, PC
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                                         Narberth, PA 19072
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                                         amilz@consumerslaw.com
                                         jlopez-jacobs@consumerslaw.com

                                         Attorneys for Plaintiff




                                                                             Case ID: 220601757
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                                                               Case ID: 220601757
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 100 of 113




COMMUNITY LEGAL SERVICES, INC.                                            Filed and Attested by the
By: PETER D. SCHNEIDER, ESQUIRE                       Attorneys for Plaintiff
                                                                        OfficeGwendolyn PurnellRecords
                                                                                 of Judicial
Attorney I.D. No. 40351                                                       06 JUL 2022 11:35 am
By: ROBERT W. BALLENGER, ESQUIRE                                                   B. MERCEDES
Attorney I.D. No. 93434
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215-981-3718

FLITTER MILZ, P.C.
BY: CARY L. FLITTER
Attorney ID No. 35047
BY: ANDREW M. MILZ
Attorney ID No. 207715
BY: JODY T. LÓPEZ-JACOBS
Attorney ID No. 320522
450 N. Narberth Ave, Suite 101
Narberth, PA 19072
(610) 822-0782

 Gwendolyn Purnell,                                COURT OF COMMON PLEAS
                 Plaintiff,                        PHILADELPHIA COUNTY
                                                   CIVIL DIVISION
             v.
                                                   June Term, 2022
 Goodleap, LLC, et al.,
                 Defendants.                       No. 01757

                                   AFFIDAVIT OF SERVICE

       I, Jody Lopez-Jacobs, counsel for Plaintiff Gwendolyn Purnell, swear that on June 30,

2022, the Complaint and Notice to Defend were served on Defendant Sunrun Inc. by certified mail,

restricted delivery. Attached is the signed return receipt. I verify that the foregoing is true and

correct to the best of my knowledge, information and belief, and that the foregoing is subject to

the penalties of 18 Pa.C.S. § 4904 relating to unsworn falsification to authorities.




                                                                                          Case ID: 220601757
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Date: 7/6/2022                           s/Jody T. Lopez-Jacobs
                                        CARY L. FLITTER
                                        ANDREW M. MILZ
                                        JODY THOMAS LÓPEZ-JACOBS
                                        Flitter Milz, PC
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                                        jlopez-jacobs@consumerslaw.com

                                        Attorneys for Plaintiff




                                                                            Case ID: 220601757
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                                                                Case ID: 220601757
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 103 of 113




COMMUNITY LEGAL SERVICES, INC.                                             Filed and Attested by the
By: PETER D. SCHNEIDER, ESQUIRE                       Attorneys for Plaintiff
                                                                        OfficeGwendolyn PurnellRecords
                                                                                 of Judicial
Attorney I.D. No. 40351                                                       06 JUL 2022 11:39 am
By: ROBERT W. BALLENGER, ESQUIRE                                                   B. MERCEDES
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Philadelphia, PA 19102
215-981-3718

FLITTER MILZ, P.C.
BY: CARY L. FLITTER
Attorney ID No. 35047
BY: ANDREW M. MILZ
Attorney ID No. 207715
BY: JODY T. LÓPEZ-JACOBS
Attorney ID No. 320522
450 N. Narberth Ave, Suite 101
Narberth, PA 19072
(610) 822-0782

 Gwendolyn Purnell,                               COURT OF COMMON PLEAS
              Plaintiff,                          PHILADELPHIA COUNTY
                                                  CIVIL DIVISION
             v.
                                                  June Term, 2022
 Goodleap, LLC, et al.,
                Defendants.                       No. 01757

                                   AFFIDAVIT OF SERVICE

       I, Jody Lopez-Jacobs, counsel for Plaintiff Gwendolyn Purnell, swear that on June 30,

2022, the Complaint and Notice to Defend were served on Defendant Vivint Solar, Inc. by certified

mail, restricted delivery. Attached is the signed return receipt. I verify that the foregoing is true

and correct to the best of my knowledge, information and belief, and that the foregoing is subject

to the penalties of 18 Pa.C.S. § 4904 relating to unsworn falsification to authorities.




                                                                                           Case ID: 220601757
     Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 104 of 113




Date: 7/6/2022                           s/Jody T. Lopez-Jacobs
                                        CARY L. FLITTER
                                        ANDREW M. MILZ
                                        JODY THOMAS LÓPEZ-JACOBS
                                        Flitter Milz, PC
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                                        jlopez-jacobs@consumerslaw.com

                                        Attorneys for Plaintiff




                                                                            Case ID: 220601757
Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 105 of 113




                                                                Case ID: 220601757
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 106 of 113




COMMUNITY LEGAL SERVICES, INC.                                          Filed and Attested by the
By:    Robert W. Ballenger, Esquire                  Attorney for Plaintiff Gwendolyn
                                                                       Office         Purnell Records
                                                                               of Judicial
Attorney ID No. 93434                                                      24 JUN 2022 12:59 pm
1424 Chestnut Street                                                            S. GILLIAM
Philadelphia, PA 19102
Tel: 215-981-3788
Email: rballenger@clsphila.org


Gwendolyn Purnell,                           :       COURT OF COMMON PLEAS
                              Plaintiff      :       PHILADELPHIA COUNTY
              v.                             :       CIVIL DIVISION
                                             :
Goodleap, LLC                                :       June Term, 2022
Sunrun, Inc.                                 :       No. 01757
Vivint Solar, Inc.                           :
Vivint Solar Developer, LLC                  :
Leroi Taylor, and                            :
John Doe(s)                                  :
                              Defendants     :

To the Office of Judicial Records:

       Kindly enter each of our appearances in this matter as co-counsel on behalf of Plaintiff

Gwendolyn Purnell.

Dated: June 24, 2022

                                      /s/ Robert W. Ballenger
                                      Attorney ID No. 93434

                                      /s/ Peter D. Schneider
                                      Attorney ID No. 40351

                                      /s/ Cary L. Flitter
                                      Attorney ID No. 35047

                                      /s/ Jody T. López-Jacobs
                                      Attorney ID No. 320522

                                      Attorneys for Plaintiff




                                                                                         Case ID: 220601757
Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 107 of 113




  EXHIBIT C
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 108 of 113




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  GWENDOLYN PURNELL,                                     CIVIL ACTION No.

                                     Plaintiff,


                           v.

  GOODLEAP, LLC; SUNRUN INC.; VIVINT
  SOLAR, INC.; AND VIVINT SOLAR
  DEVELOPER, LLC,


                                     Defendant.

                         DECLARATION OF DAVID DIXON, ESQ.
                         IN SUPPORT OF NOTICE OF REMOVAL

               I, David Dixon, declare and state as follows:

               1.      I am Assistant General Counsel of GoodLeap LLC (“GoodLeap”).

               2.      I am duly authorized by GoodLeap to make this declaration and testify on

its behalf regarding the facts and matters set forth below.

               3.      I submit this declaration in support of the notice of removal filed by

Defendants Sunrun Inc., Vivint Solar Developer, LLC, Vivint Solar, Inc., and GoodLeap.

               4.      The facts set forth herein are based upon my personal knowledge and

review of the business records of GoodLeap.

               5.      GoodLeap and its members are citizens of the States of California,

Delaware, and Texas, for purposes of diversity.

               6.      GoodLeap has five members: Paramount GR Holdings, LLC, a California

LLC; Paramount Owner Holding Company, Inc., a Delaware corporation with a principal place
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 109 of 113




of business in California; Hayes Barnard, a natural person residing in Texas; Tanguy Serra, a

natural person residing in California; and Matthew Dawson, a natural person residing in

California.

              7.      GoodLeap Paramount GR Holdings, LLC, has two members: Paramount

Owner Holding Company Inc., a Delaware corporation with a principal place of business in

California, and BKM Holdings LLC, a California LLC.

              8.      The sole member of BKM Holdings LLC is Hayes Barnard.



              I declare under penalty of perjury that the foregoing is true and correct.



 Dated: Bentonville, Arkansas                       _________________________
        May 31, 2022                                David Dixon, Esq.




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  EXHIBIT D
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         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      PHIILADELPHIA CIVIL DIVISION


  GWENDOLYN PURNELL,                                   CIVIL ACTION NO. 220500085

                                    Plaintiff,


                          v.

  GOODLEAP, LLC; SUNRUN INC.; VIVINT
  SOLAR, INC.; VIVINT SOLAR DEVELOPER,
  LLC; AND LEROI TAYLOR,


                                    Defendants.

                      NOTICE OF FILING NOTICE OF REMOVAL


       NOW COME Defendants Sunrun Inc. (“Sunrun”), Vivint Solar Developer, LLC (“Vivint

Solar Development”), Vivint Solar, Inc. (“Vivint Solar”), GoodLeap, LLC (“GoodLeap”), and

Leroi Taylor (“Mr. Taylor”) (collectively, “Defendants”), by and through their respective

undersigned attorneys, to hereby give Notice of Filing of Notice of Removal of this matter to the

United States District Court for the Eastern District of Pennsylvania. A copy of the Notice of
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 112 of 113




Removal filed with the United States District Court for the Eastern District of Pennsylvania is

attached hereto as Exhibit 1.

                                           Respectfully submitted,

                                           BUCHANAN INGERSOLL & ROONEY PC
                                           By: Samantha L. Southall
                                           Samantha L. Southall (Pa. I.D. No. 80709)
                                           Two Liberty Place
                                           50 S. 16th Street, Suite 3200
                                           Philadelphia, Pennsylvania 19102-2555
                                           Tel.: (215) 665-3800
                                           Fax: (215) 665-8760
                                           Email: samantha.southall@bipc.com

                                           Attorneys for Defendant GoodLeap, LLC

                                           GORDON REES SCULLY
                                           MANSUKHANI, LLP


                                           By: /s/ Alexander Nemiroff

                                           Alexander Nemiroff (Pa. I.D. No. 92250)
                                           Three Logan Square
                                           1717 Market Street, Suite 610
                                           Philadelphia, Pennsylvania 19103
                                           Tel. (267) 602-2040
                                           Fax: (215) 693-6650
                                           Email: anemiroff@grsm.com

                                           Attorneys for Defendants Sunrun Inc., Vivint Solar
                                           Developer, LLC, Vivint Solar, Inc. and Leroi Taylor




                                              2
      Case 2:22-cv-02773-RBS Document 1-1 Filed 07/18/22 Page 113 of 113




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 18, 2022, I caused a copy of the foregoing document to be

served upon the following by electronic court notification and electronic mail:

                      Peter D. Schneider
                      Robert W. Ballenger
                      COMMUNITY LEGAL SERVICES, INC.
                      1424 Chestnut Street
                      Philadelphia, PA 19102
                      pschneider@clsphila.org
                      rballenger@clsphila.org

                      Cary L. Flitter
                      Andrew M. Milz
                      Jody T. López-Jacobs
                      FLITTER MILZ, P.C.
                      450 N. Narberth Ave, Suite 101
                      Narberth, PA 19072
                      cflitter@consumerslaw.com
                      amilz@consumerslaw.com
                      jlopez-jacobs@consumerslaw.com


                                                     /s/ Samantha L. Southall
                                                     Samantha L. Southall




                                                3
